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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT


________________________________
NOVITAZ, INC.                    )
       a Delaware Corporation,   )
                                 )
Plaintiff,                       )
                                 )              Civil Action No. 3:16-cv-00387-VLB
v.                               )
                                 )
INMARKET MEDIA, LLC.             )
       a Delaware Corporation,   )
                                 )
Defendant.                       )              JURY TRIAL DEMAND
________________________________)

                      AMENDED COMPLAINT AND JURY DEMAND

      Pursuant to the Order entered on March 7, 2016 [Dkt. 4], Plaintiff, NOVITAZ,

INC., hereby files its Amended Complaint and alleges upon information and

belief, as follows:

                                     THE PARTIES

          1. Plaintiff, Novitaz, Inc., is a Delaware corporation, having its principal

place of business in California and having an office at 320 Tonopah Drive,

Fremont, CA 94538.

          2. The majority of Plaintiff’s Board of Directors resides in Connecticut.

          3. Plaintiff’s Board of Directors oversee and control Plaintiff’s business

affairs in Connecticut.

          4. Plaintiff    controls   the   present   litigation   from   California   and

Connecticut.

          5. Upon information and belief, Defendant, inMarket Media, LLC, is a
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Delaware corporation, having its principal place of business in California and

having an office at 1350 Abbot Kinney Boulevard, Suite 203, Venice, California,

90219.

          6. Upon information and belief, Defendant provides its products and

services in Connecticut.

          7. Upon information and belief, Defendant’s accused products have

been downloaded, installed, and/or used in Connecticut.

          8. Plaintiff has downloaded, installed, and used Defendant’s accused

products in Connecticut.

          9. This action has arisen under the patent laws of the United States,

Title 35 United States Code, Section 271 et seq.

          10. Jurisdiction of this action arises under 28 U.S.C. § 1338(a). Venue is

predicated under 28 U.S.C. § 1391(c).

                                         COUNT I

          1. On June       14,   2011,   United States Patent Number      8,229,787

(hereinafter “‘787 Patent”) entitled “Customer Relationship Management System

for Physical Locations” was duly and regularly issued. A copy of the ‘787 Patent

is attached hereto as Exhibit “A”.

          2. Plaintiff is the owner of the ‘787 Patent.

          3. Upon information and belief, Defendant has directly or contributorily

infringed or induced the infringement of the claims of the ‘787 Patent by having

made, used or sold customer relationship management systems through its

Epicurious application, CheckPoints application, and through other applications
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using inMarket’s Software Development Kit (“SDK”) that duly embody the

invention as claimed herein; such infringement was willful and deliberate.

         4. The ‘787 Patent relates, generally, to an improved method of

customer relationship management in a physical environment.

         5. The ‘787 Patent discloses methods for detecting a customer’s

presence in a business establishment, storing a plurality of tracked events that

the customer engages in while in the business establishment, and determining a

marketing message for the customer based on the tracked events.

         6. An improvement provided by the ‘787 Patent is enabling more

personalized service for a customer upon entry and throughout the customer’s

visit to a business establishment. The ‘787 Patented invention enables targeted

marketing and sales promotions (up-sell/cross-sell) for individual customers.

         7. Defendant’s    inMarket    mobile   platform   enables    Defendant’s

customers to provide improved in-store marketing and customer engagement.

         8. On information and belief, Defendant markets its mobile platform

under the name “Mobile to Mortar.”

         9. Defendant markets its services as allowing brands to “Reach

shoppers in-store when it matters most and drive measured lifts in purchase as

high as 20x.” See http://www.inmarket.com/ (last visited February 16, 2016).

         10. Defendant makes, uses, sells, and offers for sale the app

CheckPoints.

         11. Defendant makes, uses, sells, and offers for sale the inMarket

Proximity SDK.
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           12. CheckPoints users register when using the CheckPoints app. This

registration process includes providing an email address to InMarket.

           13. InMarket stores the user’s CheckPoints registration information.

           14. CheckPoints detect the user’s physical presence in a physical

establishment.

           15. InMarket provides beacons to be used in supported physical

establishments for enabling CheckPoints (and other supported apps) to detect a

user’s physical location within an establishment.

           16. CheckPoints provides marketing messages to its users.

           17. InMarket stores a plurality of tracked customer events within a

physical establishment.

           18. CheckPoints infringes certain claims of the ‘787 Patent.

           19. InMarket’s Proximity SDK infringes certain claims of the ‘787 Patent.

           20. Plaintiff has been damaged by the acts of infringement complained

of herein.

           21. Plaintiff has no adequate remedy without intervention of this Court.

           22. This case is “exceptional” within the meaning of 35 U.S.C. § 285.

                                PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays that:

      A.      An injunction be granted preliminarily and permanently restraining

Defendant and all those in privity with it from further infringement of Plaintiff’s

‘787 Patents.

      B.      Defendant be required to account to Plaintiff for the damages
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recoverable by Plaintiff under 35 U.S.C. § 284 as a result of the wrongful making,

using, and selling of Plaintiff’s inventions as claimed in the ‘787 Patent, the exact

extent of which cannot now be determined by Plaintiff, and that all of such

damages be trebled.

       C. Plaintiff be awarded reasonable attorney fees;

       D. Plaintiff be allowed its costs; and

       E. Such other and further relief be granted to which Plaintiff may be justly

entitled.

                                   JURY DEMAND

       Plaintiff demands a trial by jury.

Date: March 14, 2016                    /s/ Woodrow H. Pollack
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                                        Counsel for Plaintiff



                             CERTIFICATE OF SERVICE

       I hereby certify that on March 14, 2016 a true and correct copy of the
foregoing was filed electronically and served by mail on anyone unable to accept
electronic filing. Notice of this filing will be sent via e-mail to all parties by
operation of the Court’s electronic filing system or by mail to anyone unable to
accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System.

                                                /s/ Woodrow H. Pollack
                                                Woodrow H. Pollack
